
Justice Scalia
delivered the opinion of the Court.
We consider whether a disabled inmate in a state prison may sue the State for money damages under Title II of the Americans with Disabilities Act of 1990 (ADA or Act), 104 Stat. 337, as amended, 42 U. S. C. § 12131 et seq. (2000 ed. and Supp. II).
I
A
Title II of the ADA provides that “no qualified individual with a disability shall, by reason of such disability, be excluded from participation in or be denied the benefits of the services, programs, or activities of a public entity, or be subjected to discrimination by any such entity.” § 12132 (2000 ed.). A “‘qualified individual with a disability’” is defined as “an individual with a disability who, with or without reasonable modifications to rules, policies, or practices, the removal of architectural, communication, or transportation barriers, or the provision of auxiliary aids and services, *154meets the essential eligibility requirements for the receipt of services or the participation in programs or activities provided by a public entity.” §12131(2). The Act defines “‘public entity’” to include “any State or local government” and “any department, agency, ... or other instrumentality of a State,” §12131(1). We have previously held that this term includes state prisons. See Pennsylvania Dept. of Corrections v. Yeskey, 524 U. S. 206, 210 (1998). Title II authorizes suits by private citizens for money damages against public entities that violate § 12132. See 42 U. S. C. § 12133 (incorporating by reference 29 U. S. C. § 794a).
In enacting the ADA, Congress “invoke[d] the sweep of congressional authority, including the power to enforce the fourteenth amendment . . . .” 42 U. S. C. § 12101(b)(4). Moreover, the Act provides that “[a] State shall not be immune under the eleventh amendment to the Constitution of the United States from an action in [a] Federal or State court of competent jurisdiction for a violation of this chapter.” § 12202. We have accepted this latter statement as an unequivocal expression of Congress’s intent to abrogate state sovereign immunity. See Board of Trustees of Univ. of Ala. v. Garrett, 531 U. S. 356, 363-364 (2001).
B
Petitioner in No. 04-1236, Tony Goodman, is a paraplegic inmate in the Georgia prison system who, at all relevant times, was housed at the Georgia State Prison in Reidsville. After filing numerous administrative grievances in the state prison system, Goodman filed a pro se complaint in the United States District Court for the Southern District of Georgia challenging the conditions of his confinement. He named as defendants the State of Georgia and the Georgia Department of Corrections (state defendants) and several individual prison officials. He brought claims under Rev. Stat. § 1979,42 U S. C. § 1983, Title II of the ADA, and other pro*155visions not relevant here, seeking both injunctive relief and money damages against all defendants.
Goodman’s pro se complaint and subsequent filings in the District Court included many allegations, both grave and trivial, regarding the conditions of his confinement in the Reidsville prison. Among his more serious allegations, he claimed that he was confined for 23-to-24 hours per day in a 12-by-3-foot cell in which he could not turn his wheelchair around. He alleged that the lack of accessible facilities rendered him unable to use the toilet and shower without assistance, which was often denied. On multiple occasions, he asserted, he had injured himself in attempting to transfer from his wheelchair to the shower or toilet on his own, and, on several other occasions, he had been forced to sit in his own feces and urine while prison officials refused to assist him in cleaning up the waste. He also claimed that he had been denied physical therapy and medical treatment, and denied access to virtually all prison programs and services on account of his disability.
The District Court adopted the Magistrate Judge’s recommendation that the allegations in the complaint were vague and constituted insufficient notice pleading as to Goodman’s §1983 claims. It therefore dismissed the §1983 claims against all defendants without providing Goodman an opportunity to amend his complaint. The District Court also dismissed his Title II claims against all individual defendants. Later, after our decision in Garrett, the District Court granted summary judgment to the state defendants on Goodman’s Title II claims for money damages, holding that those claims were barred by state sovereign immunity.
Goodman appealed to the United States Court of Appeals for the Eleventh Circuit. The United States, petitioner in No. 04-1203, intervened to defend the constitutionality of Title II’s abrogation of state sovereign immunity. The Eleventh Circuit determined that the District Court had erred in dismissing all of Goodman’s § 1983 claims, because Goodman’s *156multiple pro se filings in the District Court alleged facts sufficient to support “a limited number of Eighth-Amendment claims under § 1983” against certain individual defendants. App. A to Pet. for Cert, in No. 04-1236, p. 17a, judgt. order reported at 120 Fed. Appx. 785 (2004). The Court of Appeals held that the District Court should have given Goodman leave to amend his complaint to develop three Eighth Amendment claims relating to his conditions of confinement:
“First, Goodman alleges that he is not able to move his wheelchair in his cell. If Goodman is to be believed, this effectively amounts to some form of total restraint twenty-three to twenty-four hours-a-day without penal justification. Second, Goodman has alleged several instances in which he was forced to sit in his own bodily waste because prison officials refused to provide assistance. Third, Goodman has alleged sufficient conduct to proceed with a § 1983 claim based on the prison staff’s supposed ‘deliberate indifference’ to his serious medical condition of being partially paraplegic ....” App. A to Pet. for Cert, in No. 04-1236, pp. 18a-19a (citation and footnote omitted).
The court remanded the suit to the District Court to permit Goodman to amend his complaint, while cautioning Goodman not to reassert all the §1983 claims included in his initial complaint, “some of which [we]re obviously frivolous.” Id., at 18a.
The Eleventh Circuit did not address the sufficiency of Goodman’s allegations under Title II. Instead, relying on its prior decision in Miller v. King, 384 F. 3d 1248 (2004), the Court of Appeals affirmed the District Court’s holding that Goodman’s Title II claims for money damages against the State were barred by sovereign immunity. We granted certiorari to consider whether Title II of the ADA validly abrogates state sovereign immunity with respect to the claims at issue here. 544 U. S. 1031 (2005).
*157II
In reversing the dismissal of Goodman’s § 1983 claims, the Eleventh Circuit held that Goodman had alleged actual violations of the Eighth Amendment by state agents on the grounds set forth above. See App. A to Pet. for Cert, in No. 04-1236, pp. 18a-19a. The State does not contest this holding, see Brief for Respondents 41-44, and we did not grant certiorari to consider the merits of Goodman’s Eighth Amendment claims; we assume without deciding, therefore, that the Eleventh Circuit’s treatment of these claims was correct. Moreover, Goodman urges, and the State does not dispute, that this same conduct that violated the Eighth Amendment also violated Title II of the ADA. See Brief for Petitioner in No. 04-1236, p. 46; Brief for Respondents 41-44. In fact, it is quite plausible that the alleged deliberate refusal of prison officials to accommodate Goodman’s disability-related needs in such fundamentals as mobility, hygiene, medical care, and virtually all other prison programs constituted “exclusion] from participation in or . . . deni[al of] the benefits of” the prison’s “services, programs, or activities.” 42 U. S. C. § 12132; see also Yeskey, 524 U. S., at 210 (noting that the phrase “services, programs, or activities” in § 12132 includes recreational, medical, educational, and vocational prison programs). Therefore, Goodman’s claims for money damages against the State under Title II were evidently based, at least in large part, on conduct that independently violated the provisions of § 1 of the Fourteenth Amendment. See Louisiana ex rel. Francis v. Resweber, 329 U. S. 459, 463 (1947) (plurality opinion) (the Due Process Clause of the Fourteenth Amendment incorporates the Eighth Amendment’s guarantee against cruel and unusual punishment). In this respect, Goodman differs from the claimants in our other cases addressing Congress’s ability to abrogate sovereign immunity pursuant to its § 5 powers. See Tennessee v. Lane, 541 U. S. 509, 543, n. 4 (2004) (Rehnquist, C. J., dissenting) (respondents were not actually denied constitutional *158rights); Nevada Dept, of Human Resources v. Hibbs, 538 U. S. 721, 752, 755 (2003) (Kennedy, J., dissenting) (Nevada provided family leave “on a gender-neutral basis”— “a practice which no one contends suffers from a constitutional infirmity”); Garrett, 531 U. S., at 362, 367-368 (failure to make the special accommodations requested by disabled respondents was not unconstitutional); Kimel v. Florida Bd. of Regents, 528 U. S. 62, 69-70, 83-84 (2000) (most petitioners raised nonconstitutional disparate-impact challenges to the State’s age-related policies); Florida Prepaid Postsecondary Ed. Expense Bd. v. College Savings Bank, 527 U. S. 627, 643-644, and n. 9 (1999) (Florida satisfied due process by providing remedies for patent infringement by state actors); City of Boerne v. Flores, 521 U. S. 507, 512 (1997) (church building permit denied under neutral law of general applicability).
While the Members of this Court have disagreed regarding the scope of Congress’s “prophylactic” enforcement powers under §5 of the Fourteenth Amendment, see, e. g., Lane, 541 U. S., at 513 (majority opinion of Stevens, J.); id., at 538 (Rehnquist, C. J., dissenting); id., at 554 (Scalia, J., dissenting), no one doubts that §5 grants Congress the power to “enforce ... the provisions” of the Amendment by creating private remedies against the States for actual violations of those provisions. “Section 5 authorizes Congress to create a cause of action through which the citizen may vindicate his Fourteenth Amendment rights.” Id., at 559-560 (Scalia, J., dissenting) (citing the Ku Klux Klan Act of April 20, 1871, 17 Stat. 13); see also Fitzpatrick v. Bitzer, 427 U. S. 445, 456 (1976) (“In [§ 5] Congress is expressly granted authority to enforce . . . the substantive provisions of the Fourteenth Amendment” by providing actions for money damages against the States (emphasis added)); Ex parte Virginia, 100 U. S. 339, 346 (1880) (“The prohibitions of the Fourteenth Amendment are directed to the States .... It is these which Congress is empowered to enforce . . . ”). This en*159forcement power includes the power to abrogate state sovereign immunity by authorizing private suits for damages against the States. See Fitzpatrick, supra, at 456. Thus, insofar as Title II creates a private cause of action for damages against the States for conduct that actually violates the Fourteenth Amendment, Title II validly abrogates state sovereign immunity. The Eleventh Circuit erred in dismissing those of Goodman’s Title II claims that were based on such unconstitutional conduct.
From the many allegations in Goodman’s pro se complaint and his subsequent filings in the District Court, it is not clear precisely what conduct he intended to allege in support of his Title II claims. Because the Eleventh Circuit did not address the issue, it is likewise unclear to what extent the conduct underlying Goodman’s constitutional claims also violated Title II. Moreover, the Eleventh Circuit ordered that the suit be remanded to the District Court to permit Goodman to amend his complaint, but instructed him to revise his factual allegations to exclude his “frivolous” claims — some of which are quite far afield from actual constitutional violations (under either the Eighth Amendment or some other constitutional provision), or even from Title II violations. See, e. g., App. 50 (demanding a “steam table” for Goodman’s housing unit). It is therefore unclear whether Goodman’s amended complaint will assert Title II claims premised on conduct that does not independently violate the Fourteenth Amendment. Once Goodman’s complaint is amended, the lower courts will be best situated to determine in the first instance, on a claim-by-elaim basis, (1) which aspects of the State’s alleged conduct violated Title II; (2) to what extent such misconduct also violated the Fourteenth Amendment; and (3) insofar as such misconduct violated Title II but did not violate the Fourteenth Amendment, whether Congress’s purported abrogation of sovereign immunity as to that class of conduct is nevertheless valid.
*160* * *
The judgment of the Eleventh Circuit is reversed, and the suit is remanded for further proceedings consistent with this opinion.

It is so ordered.

